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                                                                               United States Courts
                            UNITED STATES DISTRICT COURT                     Southern District of Texas
                             SOUTHERN DISTRICT OF TEXAS                               FILED
                                 HOUSTON DIVISION                                August 16, 2023
                                                                          Nathan Ochsner, Clerk of Court

UNITED STATES OF AMERICA                      '
                                              '
v.                                            '       CASE NO.             4:23-cr-354
                                              '
CECILIO REYNOSO                               '


                                NOTICE OF RELATED CASES

TO THE HONORABLE JUDGE OF SAID COURT:

       The United States of America hereby provides this written notice, pursuant to Local Rule

LR5.3, Related Litigation Policy, of related cases. Specifically, this cause is related to United

States v. Cristian Alvear et al, 4:21-CR-442 which charges seventeen defendants in thirty-three

counts of numerous violations of Federal law, assigned to United States District Judge Andrew

S. Hanen.

                                                      Respectfully submitted,

                                                      ALAMDAR S. HAMDANI
                                                      United States Attorney

                                              By:     /s Jennifer Stabe_____
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